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    6
        Attorneys for Claimant ROBERT SHUMAKE
    7
                                   UNITED STATES DISTRICT COURT
    8
                                  CENTRAL DISTRICT OF CALIFORNIA
    9                                   WESTERN DIVISION

   10   UNITED STATES OF AMERICA,                           No. CV-18-670 SJO (GJSx)
   11                                                       CLAIMANT ROBERT
                   Plaintiff,
   12   v.                                                  SHUMAKE’S REPLY IN
                                                            SUPPORT OF MOTION FOR
   13   $148,145.00 IN U.S. CURRENCY,                       RECONSIDERATION OF THIS
                                                            COURT’S ORDER STRIKING
   14                                                       SHUMAKE’S JUDICIAL CLAIM
                 Defendant.
   15   ______________________________________/
        ROBERT SHUMAKE,                                     Date: 7 January 2019
   16                                                       Time: 10:00 a.m.
                 Claimant.                                  Dept: 10C
   17                                                             Hon. S. James Otero
        ______________________________________/
   18
   19
               In its opposition, the government fails to point out where, in the administrative claim,
   20
   21   Shumake is alleging an OWNERSHIP interest by IHRC. The reason for such a failure is

   22   because there is no place on the administrative claim where Shumake does that. The government
   23   simply wants this Court to assume a fact that does not exist.
   24
               Merely because Shumake is making a claim on behalf of IHRC, does NOT compel the
   25
        conclusion that IHRC is the owner of the defendant currency. In fact, Shumake’s administrative
   26
   27   claim is silent as to any allegation as to what IHRC’s interest was in the Defendant currency.

   28
        CLAIMANT ROBERT SHUMAKE’S REPLY IN SUPPORT OF MOTION FOR RECONSIDERATION                          1
        OF THIS COURT’S ORDER STRIKING SHUMAKE’S JUDICIAL CLAIM
        Case No. CV-18-670 SJO (GJSx)
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    1           As stated previously, there is no law or statute or legal authority that says Shumake
    2   cannot make an administrative claim of a possessory or beneficial interest on behalf of IHRC,
    3
        which is perfectly legal to do and later make a judicial claim of ownership on his own behalf.
    4
                Furthermore, just because the preprinted claim form asks a claimant to “explain why you
    5
    6   believe the property belongs to you”, that is NOT in conflict with a claim that property can

    7   belong to a possessor or that the property can belong to someone or some entity that has a
    8
        beneficial interest. “Belong” does not equal “ownership”.
    9
                The government offers no law or rule or case citation that precludes either of those
   10
        assertions. There is none. Any person can make a claim on behalf of the beneficial interest of
   11
   12   another. Administrative claims ARE NOT limited to claims of ownership. No law or rule says

   13   that there is such a limit.
   14
                This Court was also in error to conclude that “Claimant’s administrative and judicial
   15
        claims…. relate to the same Defendant currency…….[and] the two claims directly conflict.”
   16
   17   (Doc. 59, at 6).

   18           The two claims DO NOT directly conflict. This Court’s conclusion is based SOLELY on
   19   its erroneous belief that Shumake was claiming in his administrative claim that IHRC was the
   20
        OWNER of the Defendant currency.
   21
                As stated in his motion for reconsideration, because Shumake NEVER alleged in his
   22
   23   administrative claim that IHRC was the owner of the Defendant currency and because Shumake

   24   had every right to allege an ownership interest in the Defendant currency in his judicial claim,
   25   this constitutes a manifest showing of a failure by this Court to consider material facts presented
   26
        to the Court before such decision. It was this failure by this Court to consider these material facts
   27
        that solely led this Court, based on non-existent facts, to strike the judicial claim of Shumake.
   28
        CLAIMANT ROBERT SHUMAKE’S REPLY IN SUPPORT OF MOTION FOR RECONSIDERATION                            2
        OF THIS COURT’S ORDER STRIKING SHUMAKE’S JUDICIAL CLAIM
        Case No. CV-18-670 SJO (GJSx)
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    1          There existed no legal basis for this Court to strike Shumake’s judicial claim.
    2   Reconsideration of this Court’s prior Order of 15 November 2018 is necessary.
    3
    4
                                             Respectfully submitted,
    5
        Dated: 10 December 2018
    6
                                             s/David M.Michael_________
    7                                        DAVID M. MICHAEL
    8                                        Attorney for Claimant ROBERT SHUMAKE

    9
   10
   11                          CERTIFICATE OF ELECTRONIC SERVICE

   12           I hereby certify that, on 10 December 2018, I caused to be electronically filed the
        foregoing with the clerk of the court by using the CM/ECF system, which will send a notice of
   13
        electronic filing on all ECF-registered counsel by operation of the Court’s electronic filing
   14   system. Parties may access this filing through the Court’s system.

   15
   16
                                                            s/David M.Michael_____________
   17
                                                            DAVID M. MICHAEL
   18                                                       Attorney for Claimant
                                                            ROBERT SHUMAKE
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   20
   21
   22
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   26
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   28
        CLAIMANT ROBERT SHUMAKE’S REPLY IN SUPPORT OF MOTION FOR RECONSIDERATION                        3
        OF THIS COURT’S ORDER STRIKING SHUMAKE’S JUDICIAL CLAIM
        Case No. CV-18-670 SJO (GJSx)
